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United States District Court of New Jersey

Joshua
(defendant)

Vs.

State of New Jersey
Superior & Municipal Court
Christopher Vegiulla
(plaintiffs)

Case/Complaint No. (2024-000067-0251)
Complaint:

|. Introduction:
This court has jurisdiction over this action pursuant to 28 U.S.C. § 1343 (civil rights jurisdiction)

I. Parties:
(Plaintiff)
Joshua A Johnson
360 w pleasantview Ave,
Hackensack NJ, 07601

(Defendants)

Superior Court of New Jersey(bergen)
10 main st.

Hackensack NJ, 07601

Municipal Court of Ridgewood
131 N Maple Ave,
Ridgewood NJ, 07450

Christopher Veguilla
(Address Unknown at this time of complaint)

Ill. | Statement of Claim
| Joshua Johnson HEREBY bring complaint against the Defendants, alleging a Violation
of My Due Process Rights protected Under the 14th amendment to the United
State Constitution.

IV. Statement of Facts:
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On/Between (6/27/24- 7/11/24) the Plaintiffs due process was violated when the
Municipal court & Superior courts violated NJ rule 2:5-6 by preventing the appellant the
right to appeal interlocutory order allowed under NJ rule 2:2-3 & 2:2-4 due to a Civilian
complaint being unsigned for 13 days in violation of NJ rule 1:4-1(a) by the Municipal
Court & and complete and egregious disregard by the Superior court of a filed and
accepted motion on 7/10/24 NJ rule 4:50-1. Allowing the official complaint to be
unsigned for 13 of the 20 days for the right to file notice of appeal NJ rule: 2:4-1.
Furthermore , this complaint being unsigned put the order in legal limbo between the two
courts, not allowing the defendant to file any notice of appeal to the appellant court of NJ
who reviews requests for Leave of appeal due to procedural errors: NJ rule 2:2-4.

Also, the Superior court of NJ ( bergen) disregarded my emergent Motion on the 10th of
July by violating NJ Rule 1:6-2. Lastly, Both offices/ officers, and judges for the courts
disregarded every attempt by the defendant to clarify all legal procedures
misunderstanding and completely hampered the Defendants rights to appeal and cause
irreparable harm to the defense in regards to Due process rights GUARANTEED by the
14th amendment to the U.S. Constitution by allowing the Interlocutory order to be issued
on an unsigned complaint for 13 of the 20 days of the defendant's right to appeal.

Furthermore, the malicious disregard by Court officials to Due process and NJ Court
Rules the Defendants liberty was violated for 6 hours violating NJ constitution Article |
paragraph 1 allowing for a parties to be heard in court procedures including one’s
brought by pro se defendants.

6/6/24: official unsigned Complaint filed by Chistoper Veguilla was filed to Municipal
court of Ridgewood ( see attached)

6/27/24: Honorable Judge David Pfund issued an interlocutory order moving the case to
the superior Court of NJ & issuing a warrant for the defendant's arrest.

7/3/24- Warrant was recalled due to Complaint being unsigned.
7/9/24- Warrant was reissued.

7/10/24- Emergent Motion was accepted by the Criminal Division office of Management
requesting a stay and Invalidation of the warrant Pending appeal of interlocutory order. (
see attached)

7/10/24- Court officials notified law enforcement of the warrant after acceptance of
Emergent motion and the Defendant surrendered.

7/10/24- Judge (unknown at this time) disregarded the motion stating “ why this court
has received a motion when there is a motion in Municipal Court to dismiss, I’m not sure
of’ and Defendant was notified of next court date on 8/6/24 @ 9:00 A.M. for the
Conference on Disposition.
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Vi.

Vil.

Prayer for Relief

WHEREFORE, plaintiff Joshua Johnson respectfully requests that this Honorable Court
issues an TEMPORARY injunctive relief by all lower courts to prevent further due
process violations since this is an active case in the state pending this complaint and or
case is officially reviewed unless the complaint is reviewed before 8/6/24 . If this court
finds Due Process was violated it could alleviate the entirety of the states case. The
defendant understands this is an EXTREME request but Respectfully moves this court to
issue the order because the defense believes an EXTREME violation of Due process
protected under the 14th amendment of the United States Constitution has occurred.
Also the Defendant is requesting $25,000 for compensatory Damages for financial loss
and emotional distress caused by this violation. Punitive Damages of $25,000 to be
awarded if the court finds the Court officials conduct was egregious and deprived the
defendant of his rights.

Notice of Remedies exhausted:

The defendant has exhausted all legal options between the Superior Court and
Municipal Court, and furthermore believes that 3 business days to file a leave of appeal
to the appellate court is not possible for a pro se or an experienced attorney since the
official notice of appeal must be made by 7/16/24, and that Pro se defendant hasn't
officially and legally been allowed to move freely in the defense between (6/27/24-
7/11/24.)

Jury Demand

Plaintiff respectfully request the right to jury trial in this complaint case

VIII.

Conclusion:

The complainant respectfully moves this Honorable Court to review this complaint and
allow it to move forward, the defendant prepares motions and suponeas currently in
anticipation of this decision so that the defendant is prepared to Prove this matter in
court.

Respectfully submitted,

Joshua A Johnson

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Date: 07/11/2024

